         Case 1:21-cr-10001-NMG Document 92 Filed 07/17/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                                                   CRIMINAL No. 21-CR-10001-NMG
        v.

 NEAL GRUBERT

        Defendant


               ASSENTED-TO MOTION TO AMEND PROCEDURAL ORDER

       The Court’s sentencing procedural order requires the government to provide information

about known victims to the Probation Office by July 19, 2023. Due to the international nature of

the investigation in this case, the government is hereby requesting additional time to gather that

information and provide it to the Probation Office.

       The government therefore respectfully requests that the Court authorize the government

to provide the requested victim information by August 16, 2023. The government has conferred

with defense counsel and counsel assents to this motion.

                                              Respectfully submitted,

                                              JOSHUA S. LEVY
                                              Acting United States Attorney


                                      By:     /s/ Ben Tolkoff
                                              BENJAMIN TOLKOFF
                                              LUKE GOLDWORM
                                              Assistant United States Attorney
                                              617/748-3183
         Case 1:21-cr-10001-NMG Document 92 Filed 07/17/23 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants .



                                              /s/ Ben Tolkoff
                                              BENJAMIN TOLKOFF
                                              Assistant United States Attorney




Date: July 17, 2023




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